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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAI‘I

 RONALD G. LIVINGSTON;                    CIVIL NO. 19-00157 JMS-RT
 MICHAEL J. BOTELLO; KITIYA M.
 SHIROMA; JACOB STEWART; and              STIPULATION AND PROPOSED
 HAWAII RIFLE ASSOCIATION,                STIPULATED JUDGMENT

              Plaintiffs,

        v.

 ARTHUR J. LOGAN, in his official
 capacity as Police Chief of the City &
 County of Honolulu; CITY &
 COUNTY OF HONOLULU; and
 ANNE E. LOPEZ, in her official
 capacity as Attorney General of
 Hawai‘i,

              Defendants.


        STIPULATION AND PROPOSED STIPULATED JUDGMENT

       Plaintiffs RONALD G. LIVINGSTON, MICHAEL J. BOTELLO, KITIYA

 M. SHIROMA, JACOB STEWART, and the HAWAII RIFLE ASSOCIATION

 (collectively, “Plaintiffs”); Defendants ARTHUR J. LOGAN, in his official

 capacity as the Chief of Police of the City & County of Honolulu; and the CITY &

 COUNTY OF HONOLULU (collectively, “County Defendants”); and Defendant

 ANNE E. LOPEZ, in her official capacity as Attorney General of Hawai‘i

 (“Defendant Lopez,” and together with County Defendants, “Defendants,” and
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 together with the County Defendants and Plaintiffs, the “Parties”), by and through

 undersigned counsel, hereby stipulate and agree as follows:

       WHEREAS, Plaintiffs Ronald G. Livingston, Michael J. Botello, Kitiya M.

 Shiroma, and Jacob Stewart are natural adult persons who reside in Honolulu,

 Hawai‘i, each of whom submitted applications to the Honolulu Police Department

 seeking the license required to lawfully carry firearms outside of one’s home in the

 City and County of Honolulu;

       WHEREAS, Defendant Arthur J. Logan’s predecessor, Susan Ballard, as

 Police Chief of the City & County of Honolulu, denied each of Plaintiffs’

 applications, based on her opinion that their applications “d[id] not sufficiently

 meet the immediacy, urgency, or need necessary for protection of life and

 property” as required for issuance of a license to carry a firearm under subdivision

 (a) of Hawai‘i Revised Statutes § 134-9 (“H.R.S. § 134-9(a)”).

       WHEREAS, on March 29, 2019, individual Plaintiffs, Ronald G.

 Livingston, Michael J. Botello, Kitiya M. Shiroma, and Jacob Stewart, joined by

 organizational Plaintiff, the Hawaii Rifle Association, filed a complaint

 challenging H.R.S. § 134-9(a), on the ground that it violates their Second

 Amendment right to bear arms publicly in some manner by denying them the

 license required to lawfully bear arms in Hawai‘i (ECF No. 1) (“the Lawsuit”);




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       WHEREAS, Plaintiffs’ complaint was subsequently amended on September

 27, 2022;

       WHEREAS, the United States Supreme Court issued an opinion in New

 York State Rifle & Pistol Association v. Bruen, No. 20-843, 142 S. Ct. 2111 (2022),

 issued on June 23, 2022, which holds, inter alia, that “the Second and Fourteenth

 Amendments protect an individual’s right to carry a handgun for self-defense

 outside the home,” id. at 2122. In Bruen, the Supreme Court reversed a decision of

 the Second Circuit upholding New York’s requirement that concealed-handgun-

 carry license applicants prove that “proper cause exists” to receive a license, which

 license New York law requires people to obtain in order to lawfully carry a

 handgun anywhere in public. Specifically, the Court held that New York’s

 “proper-cause requirement violates the Fourteenth Amendment in that it prevents

 law-abiding citizens with ordinary self-defense needs from exercising their right to

 keep and bear arms.” Id. at 2156. The Court described H.R.S. §134-9(a) as an

 “analogue.” Id. at 2124;

       WHEREAS, Defendant Lopez’s predecessor, Holly T. Shikada, in her

 official capacity as Attorney General of Hawai‘i, on July 7, 2022 issued a formal

 legal opinion providing: (1) that “[f]ollowing Bruen, the chiefs of police may not

 constitutionally restrict both concealed and unconcealed (open) carry licenses only

 to those who demonstrate a special need”; (2) that “[f]ollowing Bruen, the


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 language in [HRS] § 134-9 requiring that an applicant ‘[i]n an exceptional case . . .

 show[] reason to fear injury to the applicant’s person or property’ in order to obtain

 a concealed carry license should no longer be enforced”; and (3) that “[a]ll other

 statutory requirements for obtaining a concealed carry license are unaffected by

 Bruen, and (except for the citizenship requirement as applied to lawful permanent

 residents and U.S. nationals) remain in full force and effect,” Haw. Att’y Gen., Op.

 No. 22-02, at 2 (footnote omitted; quoting HRS § 134-9);

    NOW, THEREFORE, the Parties stipulate and agree as follows:

 1. The Proposed Stipulated Judgment attached as Exhibit “A” shall be entered in

    favor of Plaintiffs as a Stipulated Final Judgment, subject to approvals by the

    Honolulu City Council and any State executive or legislative entity from which

    approval is necessary. Should the Honolulu City Council or the necessary State

    entity reject the Stipulated Final Judgment, this Stipulation shall be null and

    void and the Judgment shall be set aside.

 2. In full and final settlement and satisfaction of all claims by all Plaintiffs for

    damages, fees—including attorneys’ fees—and costs in the Lawsuit, the County

    Defendants shall pay a single payment in the total amount of $14,000, subject to

    approval by the Honolulu City Council, and Defendant Lopez shall pay a single

    payment in the total amount of $14,000, subject to any necessary approvals.




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 3. Absent an agreement by the parties extending the deadline, if all necessary

    approvals are not obtained and payment of the full $28,000 is not completed by

    May 15, 2023, this Stipulation shall be null and void and the Stipulated

    Judgment shall be set aside. If that should occur, any funds that have been paid

    up to that point shall be returned and the litigation in this case shall resume.

 4. As consideration for these payments, Plaintiffs unconditionally release, acquit,

    and discharge Defendants from all damages, injuries, claims, and causes of

    action arising from or associated with the facts alleged in the instant Lawsuit as

    the facts apply to the laws, rules, or regulations in effect as of November 19,

    2022, which is prior to the November 20, 2022 effective date of the amended

    Rules of the Chief of Police, Honolulu Police Department. Plaintiffs reserve

    their rights to assert claims based on facts similar or even identical to those

    raised in the Amended Complaint but arising under any law, rule, or regulation

    that takes effect after November 19, 2022, including but not limited to the

    amended Rules of the Chief of Police, Honolulu Police Department.

       The Proposed Stipulated Judgment resolves all claims for damages,

 attorneys’ fees, and costs. No other claims, including claims for damages,

 attorneys’ fees, or costs, remain outstanding in this litigation. Except as provided

 herein, each party is to bear its own costs and fees. All parties who have appeared

 in this action have signed this stipulation.


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        DATED: Long Beach, California, December 12, 2022.

                                                /s/ Sean A. Brady
                                                SEAN A. BRADY

                                                Attorney for Plaintiffs RONALD G.
                                                LIVINGSTON, MICHAEL J. BOTELLO,
                                                KITIYA M. SHIROMA, JACOB
                                                STEWART, and HAWAII RIFLE
                                                ASSOCIATION

        DATED: Honolulu, Hawai‘i, December 12, 2022.

                                                /s/ Daniel M. Gluck
                                                DANIEL M. GLUCK

                                                Attorney for Defendants ARTHUR J.
                                                LOGAN, in his official capacity as Police
                                                Chief of the City & County of Honolulu,
                                                and CITY & COUNTY OF HONOLULU

        DATED: Honolulu, Hawai‘i, December 12, 2022.

                                                /s/ Kimberly T. Guidry
                                                KIMBERLY T. GUIDRY

                                                Attorney for Defendant ANNE E. LOPEZ,
                                                in her official capacity as Attorney General
                                                of Hawai‘i

 APPROVED AND SO ORDERED:

                             /s/ J. Michael Seabright
                            J. Michael Seabright
                            United States District Judge


 __________________________________________________________________
 Livingston, et al. v. Logan, et al.; Civil No. 19-00157 JMS-RT; United States District Court
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 JUDGMENT

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